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                     IN THE UNITED STAT:~S DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MISSOURI

UNITED STATES OF AMERICA,                           )
                                                    )
     Plaintiff,          RECE~VED                   )
                                                    )   No. 4:13CR00184
v                           MAR 2-7 2020            )
                                                    )
LAMAR PEARSON,                                      )
                            BY MAil                 )
     Defendant.                                     )

                 MOTION FOR COMPASSIONATE RELEASE UNDER
                       IE u.s.c. s3582(c)(1)(A)(iJ
         AND THE FIRST STEP ACT OF 2018 1 S.3747, l15th CONGRESS
        ~omes   now, Lamar Pears9n, Defendant, Ero se, and hereby moves
this Honorable Court for Compassionate Release and in support of
states the following:
                                    BACKGROUND
        1.    On November 25, 2013, following a plea of guilty, Defend-
ant was sentenced to 71 months imprisonment                 for the offense of
Possession With Inient To Distribute C6caine Base in violation of
21 U.S.C. §§841(a)(1) and (b)(1)(C). During this time period, De-
fendant was being detained under State jurisdiction pending a
State prosecution for the         identic~l       offense substance in the pre-
sent federal case. U.S. Marshals shuttled Defendant via a Writ of
Habe~~       Corpus As Prosecundum on      ~·   number of occasions   p~i6r   to
the sentence being imposedcfrom state custody to one day stays
in federal custody for court appearances.
                             A~ument    and Authority
        2.    When Congress first enacted the compassionate release


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    statute in 1984, it intended compassionate release to act as_ a
    second look provision to take place of federal parole, which Con-
    gress was abolishing. The problem was that Congress gave the               po~

    wer to trigger a sentence reduction under the compassionate re-
    lease statute to the Director of the Federal Bureau of Prisons
    (BOP). The   Offic~      of the Inspector General found that the BOP
    did not properly manage the compassionate release program which
    resulted in inmates who may be ~ligible candidates for release
)                      ·'t                      ·'t                    l

    not being considered. Congress then passed, and            Pre~ident   Trump
    signed, the First Step Act of 2018, which among other things,
    changed the procedures and ultimately the criteria for when a
    person in federal prison can seek a sentence reduction under the
    compassionate.rel~ase         statute in 18 U.S.C. §358Z(c)(1)(A)(i).
    Now, after changes made by the First Step Act, federal prisoners
    can file   ~motion        for a sentence reduction, and federal district
    courts are authorized to reduce a sentence even if the BOP fails
    to respond or even in the face of BOP opposition to a sentence
    reduction. Under the First Step Act, Congress took the power that
    previously   re~ided      with the BOP Director to trigger and set the.
    criteria for sentence reductions and transferred it to Article
    III courts. In United States v Cantu No._ 1:05·-CR-458-1, 2019 WL
    2498923 .(S.D. Tex. June 17, 2019), District Court" Judge Marina
    Garcia   Marmol~jo       resentericed Conrado Cantu to time served after
    finding that Cantu presented "extraordinary and compelling res..,-
    sons" for a sentence reduction under the compassionate release
    statute contained in 18 U.S.C. §3582(c)(1)(A). Importantly, Jud- ·
    ge Marmolejo held that the criteria contained in the Sentencing

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                                                                                                          ·:,
                                                                                                            }




Guidelines for compassionate release was inconsistent with the
changes t,hat Congress made to the compassionate relea8'e statute in
the First ~tep Act~ Because of that conflict, she concluded:
          'llus, tre corra::.t :inteJ:pretation of §3582(c( (1) (1\)---l:aserl on tre text, sta1lltot.y
          history arrl sb:l.l:.b..n:e, arrl ca:is:irleratioo of Ca:gress 's ability to 0Verride any of
           1he Carrnissic:o's p:>licy statEnErlts "at any tine;" Mistretta v lliitai States li88 U.
           S. E., 334(1989)-is that Wia1 a deferdant bl:ings a rrotic:o for a senten:::e n::d.c-
           tion un::1=r tle aratlrl provision, the Cart can det:ermire vheth=r any extraottlirnry
          arrl cmpilling reascrn otrer th:ln tlnse delireat:ro :in u.s.s.G. §1B1.13 ant. n.1(A)-
           (C) \\Eaant grant:irg relief.                                      .

When Congress originally enacted §3582 in 1984, it intended·for
~istrict courts to ;educe ~entences for)prisoners on the b~sis
of extraordinary and compelling reasons n6t limited to medicai,
family, or elderly circumstances. Congress first enacted the·
modern form of the compassionate release statute contained in 18
U.S.C. §3582 as part of the Comprehensive Crime Control Act of
                                                                              \
1984. The U.S. Sentencing Commission acted in 2007, promulgating
a policy that extraordinary and compelling reasons includes medi-
cal conditions, age, fami.ly circumstances, and "other reasons."
U.S.S.G. §iB1.13, application note 1(A). The Commission also
clarified that the extraordinary and compelling reasons "need
not have been unforseen at the time of sentencing in order to
wa~rant   a reduction in the term of imprisonment. U.S.S.G. §1B1.
13, a~plication note ~-                                                           .   \


               Reasons For Granting Compassionate                        Rel~ase

     3.    As initially stated Defendant was charged with offenses

involving Pos.ses,s.ion With Intent to Distribute Co~aine··a,ase under
§841 (b)(1),{C) . an·d carries a inax1mum. punishment .of 20 years.

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Also, as   st~ted   above, Defendant was initially arrested by state

officials and charged with violation of state controlled                substan~

ces offebses. During the pendency of that state criminal prosecu-
tion federal authorities arrested Defendant after being indicted
by a federal grand jury in the Eastern District of Missouri for
             I
the offense of Possession With Intent To Distribute              Cocain~   Base.
Pursuant to a Writ of Habeas Corpsu Ad Prosecundum, U.S. Marshals
shuttled Defendant on a number of occasions from state custody to
one day stints in federal custody to allow federal court appearan-
ces. Finally, after a number of months had passed and court appear-
ances, counsel for Defendant advised him t6 enter a plea of guilty
for the federal offense advising that he would be given credit for
all time spent in custody towards the federal sentence. At Sentenc-
ing Defendant was advised by the Court that his tederal time would
begin to c6mmence on the day of sentencing. Counsel's advisement
was in error because in Alabama v Bozeman 533 U.S. 146 ( 2001) .the
Court held that Article IV(e) of Interstate Agreement on Detainers
(18 USCS Appx) bars further criminal proceedings against a defend-
ant who having been transported to receiving state for 1 day, was
returned to original place of imprisonment before trial. Based on
Bozeman, had counsel filed a motion to dismiss           th~   charges against
Defendant the Court would have been obliged to do so with or with-
out prejudice. Thus, the present conviction and sentence would
not even exist had counsel argued Bozeman instead of advising De-
fendant to enter a plea of guilty thus leading to              ~-new   senterice.




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Adrlitionally, in relation to the conduct that led to the present              ~

federal conviction and sentence, Defendant has suffered multiple
convictions    ~nd   sentences other than the federal conviction and
sentence. The State _of Missouri through the courts imposed a ten
year term of    impri~onm-ent   for the same conduct (possession of co-
caine base with intent)(the ~nstant federal offens~) compounded
with an additional     punishm~nt   of incarceration by the Missouri
Board of Probation & Parole. The punishment that has been meted out
for this conduct has been tremendous and actually greater than ne-
cessary along with parole and supervised release supervision to
be served upon release. In total the Missouri sentence is 10 years,
the parole revocation term was 7 years, the Federal sentence is
nearly 6 years, the state parole supervision is at least 3 years
and the federal supervised release is at least 3 years with the
possibility of additional prison time for even just a technical
violation. in which Defendant does not for-~-seeOC.curring. the pu-

nishment could exceed 30 years for conduct wherein no citizen was
                                                    I




victimized. The Court should take into consideration these extra-
ordinary and compelling reasons in determining to reduce the term
of imprisonment.
                                Medical Issues
     4.   Defendant suffers from a. past gun shot wound that he
needs a hip replacement as the hip continually          ~eteriorates    and
this issue is compounded with the fact that Defendant just five
months ago underwent ankle surgery. His medical care professionals
in the BOP have determined that his condition has worsened wherein
he was able to get about with the aid of a walking cane, now it

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has been   medi~ally   determined that Defendant needs the aid of a
.wheelchair and a. companion to get him from place to place. In sum,
Defendant is unable to properly care for himself in a correctional
setting as he presently resides. Finally, the stress            build~up

from these stated medical issues has caused an additional medical
issue of Hypertension. Although society does not expect prison to
be a bed of roses, it does not expect a person to forego the more
labrious punishment that Defendant experiences daily along with
daily pain.
              Rehabilitation and Post Release Activity
     5.    During his incarceration Defendant has continually parti-
cipated in institutional programming that includes.4,000. hours of
community service wherein he is a part of manufacturing needed
clothing in the winter for needy families. Defendant took the
position that he wants society to know that he realizes that his
conduct in the past was not a part of the solution that America
seeks, therefore, he sought institutional programs that would
allow him to give back to the community whatever he took away.
Giving back to needy children in the community is something that
society smiles upon and it does Defendant a lot of good to know
that he now 1 -h~lps~iArn_e-rfca ·to be great agaffr, Dy_ belpJng people i.n .
need stay warm and protected from the winter elements. Defendant
has also participated and completed programming in substance abuse
and Crime Impact on Victims. Lastly, Defendant is currently set to
participate in both Residential and Non-Residential Drug Treatment

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    programming within the confines of the BOP and this positive con-
.
    duct is compounded with the fact that Defendant has abided by the
    rules: and regulations of the BOP as demonstrated by the fact that
    he has incurred no disciplinary reports. Defendant's positive con-
    duct and outlook on life and his future has allowed him to remain
    free of any crimes for the past seven years.
           6.   Defendant is physically disabled arid as such he is         ~ re~

    ceipient of government benefits and thus has a monthly secure             in~

    come    while he resides with his family in St. Louis, Missouri.
                     Exhaustion of Administrative Remedies
           7.   Immediately following Defendant's arrival to the BOP
    he requested from the Warden that the BOP file a motion on his be-
    half for compassionate release seeking a reduction of sentence in
    relation to the recent passing of the First Step Act. Defendant
    made the written request on February 21, 2020 and as of today's
    date March 23, 2020 there has been no response from the BOP. Thus,
    exhaustion is satisfied,since more than 30 days have elapsed since
    the request was made. See attached request.
                                     CONCLUSION
           8.   Based on all the factors set forth in 18 U.S.C. §3553(a)
    and §3553(a)(2)(A)(the need for the sentenee imposed ... to reflect
    the seriousness of the offense,'to promote respect for the law, and
    to provide just punishment for the offense) and §3553(a)(6)(the
    need to avoid unwarranted sentence disparities among defendants
    with similar records who have been found guilty of similar conduct),
    as well as applicable Sentencing Commission Policy Statements,

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there exists extraordinary and compelling reasons for a reduction
of Defendant's sentence pursuant to 18 U.S.C. §3582(c)(1)(A)(i).
These include imprisonment for an offense that more than likely
would have been dismissed under Alabama v Bozeman supra, the
numerous punishments received for the underlying offense, the
                                    - -           --
fact that Defendant has     no:t          -   ~




                                   received any
                                                       ~




                                                                of -the-- pricfr   prison time
served in Missouri prisons for the underlying conduct applied to
his federal sentence which seems                  tci      be inconsistent with the Gou-
rts intention at the time of sentencing, and Defendant not being
physically able to properly< ca~-e- for himstlflh' a_ ·prison setti,ng.
Defendant has demonstrated that he poses no current danger to the
safety of any other person or to the community, thus Defendant
moves the Court to reduce his sentence to time served.
                                                                Respectfully submitted,
Dated: March 23, 2020                                           ~eoc~
                                                                Lamar Pearson ·
                                                                FCC-Forrest City Low
                                                                P.O. Box 9000
                                                                Forrest City, AR 72336




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Sin::erely,

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I.amr Pearson

I ploca:i £T¥ request in the priron rrailJ:ox oo February 21, 20'2D.
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